                                                                       Case 1:15-cr-00329-ADA-BAM Document 66 Filed 02/28/18 Page 1 of 2


                                                                   1   LAW OFFICES OF YAN E. SHRAYBERMAN
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                                                                       Fresno, California 93709
                                                                   3   Telephone:     (559) 779-2315
                                                                       Facsimile:     (213) 352-1010
                                                                   4
                                                                       Attorney for Defendant
                                                                   5   ROXANA DODIER
                                                                   6

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                                                                                                      UNITED STATES DISTRICT COURT,
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                                                                                                      EASTERN DISTRICT OF CALIFORNIA
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                                                                       UNITED STATES OF AMERICA,                        Court Case#: 1:15-cr-00329-DAD-BAM
LAW OFFICES OF YAN E. SHRAYBERMAN




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                                                                                         Plaintiff,                  STIPULATION AND [PROPOSED] O R D E R
                                                                  13                                                 WITHDRAWING GOVERNMENT’S
                                    Fresno, CALIFORNIA 91724
                                    2131 Kern Street, Suite 131

                                    Telephone: (213)379‐2315
                                    Facsimile: (213) 352 ‐1010




                                                                       v.                                            REQUEST FOR A WARRANT
                                                                  14
                                                                       ROXANA DODIER
                                                                  15
                                                                                         Defendant.
                                                                  16

                                                                  17
                                                                              The United States of America, by and through Assistant United States Attorney Kimberly
                                                                  18
                                                                       Sanchez and Yan E. Shrayberman, counsel for Defendant Roxana Dodier hereby stipulate to
                                                                  19
                                                                       withdraw the request for a warrant issued and held until February 28, 2018, by this court on
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                                                                       February 26, 2018. Defendant is to personally appear at the next scheduled court hearing.
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                                                                  22   Date: 2.26.18                                                /s/Yan E. Shrayberman
                                                                  23                                                                YAN E. SHRAYBERMAN
                                                                  24   Date: 2.26.18                                                /s/ Kimberly Sanchez
                                                                  25                                                                KIMBERLY SANCHEZ

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                                                                        STIPULATION AND [PROPOSED] O R D E R WITHDRAWING GOVERNMENT’S REQUEST FOR A                   ‐1‐
                                                                                                           WARRANT
                                                                       Case 1:15-cr-00329-ADA-BAM Document 66 Filed 02/28/18 Page 2 of 2


                                                                   1
                                                                                                                    ORDER
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                                                                       Based on the joint stipulation of the parties, and good cause appearing thereof IT IS ORDERED
                                                                   3
                                                                       that the warrant for the arrest of Roxana Dodier issued and held until February 28, 2018, is hereby
                                                                   4   recalled. IT IS FURTHER ORDERED THAT Defendant Roxana Dodier personally appear at the
                                                                   5   next scheduled court appearance.
                                                                   6
                                                                       IT IS SO ORDERED.
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                                                                       Dated:   February 28, 2018                                   /s/ Barbara A. McAuliffe
                                                                   8                                                        UNITED STATES MAGISTRATE JUDGE
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LAW OFFICES OF YAN E. SHRAYBERMAN




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